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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            Case No. 17-23941-CV-GAYLES (COHN)

  BRIDGEHEAD CONTAINER SERVICES
  LTD,

         Plaintiff,

  v.

  ANGEL DONES, JR.,
         Defendant,

  and

  BANK OF AMERICA, N.A.,

        Garnishee.
  ________________________________/

          GARNISHEE BANK OF AMERICA, N.A.’S ANSWER TO WRIT OF
        GARNISHMENT AND DEMAND FOR PAYMENT OF ATTORNEY’S FEES

         Garnishee, BANK OF AMERICA, N.A., (“BANK OF AMERICA” or “Garnishee”), by

  and through its undersigned counsel, hereby files its Answer to that certain writ of garnishment,

  dated May 19, 2021 (the “Second Writ”) inquiring as to whether BANK OF AMERICA is indebted

  to Defendant, Angel Dones, Jr. (hereinafter “Defendant”) and states as follows:

         1.      At the time of service of the Second Writ, plus sufficient time not to exceed one

  business day for Garnishee to act expeditiously on the Second Writ, and the time of its Answer

  and at all times between service and its Answer, Garnishee was not indebted to Defendant(s),

  ANGEL DONES, JR.

         2.      BANK OF AMERICA states that at the time of the service of the Second Writ, plus

  sufficient time not to exceed one business day for BANK OF AMERICA to act expeditiously on
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  the Second Writ, and at the time of its Answer and at all times in between service of the Second

  Writ and this Answer, BANK OF AMERICA’s records reflect that the Defendant is the co-lessee

  of the safe deposit box owned by BANK OF AMERICA, identified as follows:



      Account Number                Name on Safe Deposit Box                               Box Location


   XXXX-XXXX-1780                     IRENE DONES                                BANK OF AMERICA, N.A.
                                    ANGEL DONES JR.                               SOUTH MIAMI BANKING
                                    176 PALOMA DR.,                                      CENTER
                                CORAL GABLES, FL 33143-6545                         1500 S. DIXIE HWY.
                                                                                 CORAL GABLES, FL 331461


           3.       In the event the Court orders an inventory of the safe deposit box and Plaintiff

  cannot obtain a key from the Defendant, there is a drilling fee of $150.00 to open a safe deposit

  box for an inventory of its contents. BANK OF AMERICA does not know if the safe deposit box

  has any contents, and has no obligation to make, and has not made, a determination as to the

  ownership of the contents of the safe deposit box, if any, or as to whether any contents of the safe

  deposit box are subject to any exemption provided to Defendant and/or other persons or entities

  under Federal or State law.

           4.       Garnishee knows of no other person indebted to Defendant or any other person who

  may have any effects, goods, money or chattels of the said Defendant, nor did Garnishee have in

  its possession or control any other tangible or intangible personal property of the Defendant.




  1
    The Safe deposit box identified by the account number ending in -1780 is currently held pursuant to a Writ of
  Garnishment issued on April 13, 2021 (the “First Writ”) [D.E. 170] in the above referenced matter. This Court issued
  its Order [D.E. 190] which dissolved the First Writ as to non-party safe deposit box co-lessee Mrs. Downes. However,
  the First Writ was not dissolved as to Angel Downes. If the First Writ is dissolved in its entirety, then the -1780 Box
  will be held subject to the Second Writ.




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         5.      Should the Court determine that the Garnishor is entitled to a judgment in

  garnishment, BANK OF AMERICA requests that the judgment of garnishment contain specific

  instructions regarding the disposition of assets in the account.



                     DEMAND FOR PAYMENT OF GARNISHMENT FEE

         BANK OF AMERICA is entitled to attorneys’ fees and costs as provided in Fla. Stat.

  §77.28. In accordance with Section 77.28, Florida Statutes, as amended on July 1, 2014, and having

  filed the Answer of Garnishee to the Second Writ in this case, Garnishee hereby demands from

  the Garnishor the payment forthwith of the $100.00 statutory garnishment fee in partial payment

  of its attorney’s fees. The statutory garnishment fee of $100.00 shall be made in the form of a

  check, payable to Liebler, Gonzalez & Portuondo, Garnishee’s attorneys, and mailed to:

                            LIEBLER, GONZALEZ & PORTUONDO
                            COURTHOUSE TOWER, 25TH FLOOR
                                44 WEST FLAGLER STREET
                                  MIAMI, FLORIDA 33130


                                                /s/ Miguel M. Cordano________
                                                LIEBLER, GONZALEZ & PORTUONDO
                                                Counsel for Garnishee, BANK OF AMERICA, N.A.
                                                Courthouse Tower - 25th Floor
                                                44 West Flagler Street
                                                Miami, FL 33130
                                                (305) 379-0400
                                                service@lgplaw.com




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                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 24th day of May, 2021, I electronically filed the

  foregoing with the Clerk of Courts by using the CM/ECF. I also certify that the foregoing

  document is being served electronically to the following: Lindsey C. Brock III, McLeod Brock

  PLLC, 150 E. Palmetto Park Road, Suite 800, Boca Raton, Florida 33432 and J. Stephen Simms,

  Simms Showers LLP, 201 International Circle, Suite 230, Baltimore, Maryland 21030.


                                            By: /s/ Miguel M. Cordano________
                                                     MIGUEL M. CORDANO
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                                                     JOHN D. BERNSTEIN
                                                     Florida Bar No.: 125647
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